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 5   Attorneys for Defendants
     SHASTA COUNTY SHERIFF’S DEPARTMENT,
 6   TOM BOSENKO, as Sheriff of Shasta County and SHASTA COUNTY

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 8
 9                               UNITED STATES DISTRICT COURT

10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

11   EVERETT JEWETT, et al.                           ) Case No.: 2:13-cv-00882 MCE AC P
                                                      )
12                  Plaintiff,                        ) ORDER OF DISMISSAL
                                                      )
13          vs.                                       )
                                                      )
14   CALIFORNIA FORENSIC MEDICAL                      )
     GROUP, INC., et al.                              )
15                                                    )
                     Defendants.                      )
16                                                    )

17
18          The Court has considered the Joint Request for Dismissal of the individual damage claims

19   by Plaintiff Everett Joseph Jewett against all Defendants, the Request for Dismissal appears in

20   order and therefore,

21          THE COURT ORDERS that the individual damage claims brought by Plaintiff Everett

22   Joseph Jewett against all Defendants are dismissed with prejudice. The Clerk of the Court is
23   directed to close this case, but, as set forth in the Court’s prior order (ECF No. 161) the Court
24   nonetheless reserves exclusive and continuing jurisdiction over Plaintiffs, the Settlement Class
25   members, the County Defendants, CFMG and the Settlement Agreement throughout the term of
26   the Settlement Agreement, for the sole purpose of supervising the implementation, enforcement,
27   construction, and interpretation of the Settlement Agreement and this Order. In that regard, any
28


                                            ORDER OF DISMISSAL
                                                    1
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 1   challenges to the Settlement Agreement’s terms or implementation, whether under state or
 2   federal law, shall be subject to the exclusive and continuing jurisdiction of this Court.
 3          IT IS SO ORDERED.
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     Dated: January 22, 2019
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                                            ORDER OF DISMISSAL
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